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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


    IN RE: ELMIRON (PENTOSAN                        Case No. 2:20-md-02973 (BRM)(ESK)
    POLYSULFATE SODIUM)
    PRODUCTS LIABILITY
    LITIGATION                                      MDL No. 2973



                                                    JUDGE BRIAN R. MARTINOTTI
                                                    JUDGE EDWARD S. KIEL
    THIS DOCUMENT RELATES TO:
    ALL ACTIONS


                                              CMO 17 – Seconded
                                                 Amended

     I.      SCOPE OF ORDER
             In furtherance of the effective and efficient case management of complex litigation, this

     Case Management Order (“CMO”) will govern the deadlines and pretrial activity in the Windham

     matter, the first bellwether trial case for In Re: Elmiron (Pentosan Polysulfate Sodium) Products

     Liability Litigation (“MDL No. 2973”). This Order will further supplement and amend CMO 17.

     II.     AMENDED SCHEDULE FOR THE COURT SELECTED WINDHAM MATTER
             A.      The remaining pre-trial schedule for the Court-selected Windham matter, the first

                     bellwether trial, shall proceed as set forth below.

             B.      In order to accommodate this schedule, the parties have agreed to take the depositions

                     of all experts with opinions relative to the Windham matter consistent with the schedule

                     set forth in Part II.C. below, including those experts who have general cause only

                     opinions in the Windham matter.1


1
    For those experts with general cause only opinions in the Windham matter but specific cause opinions in other
                                                         1
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           C.      The remaining schedule for the Court selected Windham matter will be further amended
                   as follows:

    September 16, 2022        Expert Depositions to conclude. 2

    September 27, 2022        Dispositive motions as well as Daubert motions to be filed.

    October 27, 2022          Opposition briefs to dispositive motions and Daubert motions to be filed.

    November 1, 2022          Opposition briefs to Daubert motions to be filed.

    November 10, 2022         Reply briefs to dispositive motions and Daubert motions to be filed.

    November 18, 2022         Deposition designations to be filed.

    December 2, 2022          Witness (fact and expert) lists; Exhibit lists; and Motions in limine to be filed.

    December 16, 2022         Opposition briefs to motions in limine to be filed and Objections and counter
                              designations to be filed.
    January 6, 2023           Objections to counter designations as well as Objections to exhibit lists to be
                              filed.

    January 9, 2023           Each party to file proposed jury instructions and outline of proposed voir dire
                              process (including questionnaire, if any).

    January 9-13              Hearing on motions in limine and deposition designations

    January 16, 2023          Each party may submit a letter via email, copy to the other side and not to
                              exceed three (3) pages, noting issues for which they seek the Court’s guidance
                              or adjudication prior to opening statements to assist the Court in preparing for
                              the Pre-Trial Conference.

    Week of                   Windham pre-trial conference.
    January 23, 2023
    January 30, 2023          Windham trial will commence.




bellwether trial cases, a second and limited (3 hour) deposition on the specific causation opinions for the other
case will be conducted consistent with the deadlines set forth in the future CMO covering pre-trial scheduling of
those matters.
2
 Due to an unavoidable conflict, the parties have agreed that the deposition of defense expert, Rajendra Apte,
M.D., Ph.D., may go forward on September 29, 2022. Plaintiffs will file any Daubert motion relating to Dr. Apte
on October 4, 2022 or sooner.
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  It is so ORDERED.                        BY THE COURT:

  Date: 9/27/22


                                           Hon. Brian R. Martinotti, USDJ




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